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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE




  UNITED STATES OF AMERICA                                                           PLAINTIFF

  VS.                                         CRIMINAL ACTION NUMBER: 3:05CR-121-CRS

  HENRY GAINEY - 03                                                                DEFENDANT



                             ACCEPTANCE OF PLEA OF GUILTY,
                              ADJUDICATION OF GUILT, AND
                                 NOTICE OF SENTENCING



           Pursuant to the Report and Recommendation of Magistrate Judge James D. Moyer, the plea

  of guilty by the Defendant to Count 1 of the Indictment is hereby accepted, and the Defendant is

  adjudged guilty of such an offense. A sentencing date will be scheduled by further Order of the

  Court.




   November 29, 2010




  Copies to:
  United States Attorney
  United States Marshal
  Chief U.S. Probation Officer
  Counsel for Defendant
